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                     EXHIBIT B
     Supplemental Declaration of Bruce P. Lanphear, M.D.,
                           M.P.H.
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  CONCERNED PASTORS FOR SOCIAL
  ACTION, et al.,
                                              Case No. 16-10277
              Plaintiffs,
        v.                                    Hon. David M. Lawson

  NICK A. KHOURI, et al.,                     Mag. J. Stephanie Dawkins Davis

              Defendants.
                                          /


                     SUPPLEMENTAL DECLARATION OF
                      BRUCE P. LANPHEAR, M.D., M.P.H.
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  I, Bruce Lanphear, do hereby affirm and state:

        Introduction

        1.     I am a medical doctor. My expertise, educational background,

  employment, certification as a medical specialist in general preventative medicine

  and public health, research focus areas, and membership on public health advisory

  groups and task forces are described in the Declaration of Bruce P. Lanphear,

  M.D., M.P.H. dated March 23, 2016. See ECF No. 27-9. I incorporate by reference

  my March 23, 2016 declaration and the exhibits attached thereto in their entirety.

        2.     All of the information set forth in this declaration is based upon my

  education, personal knowledge, and experience as well as my personal review of

  Exhibits 2 through 11 of the Declaration of Bruce P. Lanphear, M.D., M.P.H. dated

  March 23, 2016, and Exhibits 1 through 3 attached to this declaration.

        Cumulative effects of lead exposure

        3.     There is no safe level of exposure to lead. Even at very low levels,

  exposure to lead has serious impacts on children’s health.

        4.     Childhood lead exposure is associated with a wide array of

  irreversible neuropsychological and developmental effects. Increased levels of lead

  in blood can result in lower IQs, diminished academic achievement, increased risk

  of attention-related disorders, such as ADHD, and increased risk of problem

  behaviors, like conduct disorder. Lead exposure is also a strong predictor of


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  behaviors linked with criminality, including impulsivity, hyperactivity, and

  aggressive behaviors. These associations remain even for children with very low

  blood lead levels (below 5 µg/dL).1

         5.    The impacts of lead exposure are cumulative. The adverse effects of

  lead exposure on cognition and behavior build up as a result of continued exposure

  to lead over time.

         6.    There is evidence that, while both acute exposures and cumulative

  lead exposure adversely affect childhood brain development, cumulative lead

  exposure over time is a stronger predictor of long-term adverse outcomes than

  short-term peak exposure to lead. For example, children’s blood lead levels

  measured at ages 5-6 were more strongly associated with adverse health impacts

  than peak blood lead levels measured during early childhood (ages 0-2), suggesting

  that lead exposure throughout childhood—not just early peak exposure—

  significantly affects negative health outcomes. 2

         7.    Given the importance of cumulative exposures on long-term outcomes

  for children—including children who have been exposed to lead in drinking water


     1
       U.S. Dep’t of Health & Human Servs., Nat’l Toxicology Program, Health
  Effects of Low-Level Lead xviii (2012) (ECF No. 27-9, Ex. 6); Bruce P. Lanphear,
  The Impact of Toxins on the Developing Brain, 36 Annual Rev. Public Health 211,
  221 (2015) (ECF No. 27-9, Ex. 10).
     2
      Christopher J. Brubaker, et al., The Influence of age of lead exposure on adult
  gray matter volume, NeuroToxicology (2010) (online ed.) (Exhibit 1).
                                            3
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  over the past two years—the evidence indicates that they will benefit if their

  present and future lead exposure is reduced.

         Spikes in lead water levels

         8.    It is my understanding that the publicly available data from tap water

  monitoring in Flint continue to show intermittent spikes in lead levels, as high as

  5,986 parts per billion (ppb). 3 These spikes occur sporadically, and have occurred

  in homes that, when previously sampled, showed low or non-detectable lead levels.

  For instance, the home that showed a spike of nearly 6,000 ppb in November 2016

  showed lead levels of only 3 ppb when sampled in July 2016, and non-detectable

  levels when sampled in August. Another home that showed a lead level of 5 ppb

  when sampled in November 2015 showed a spike of 2,069 ppb when sampled

  again in December 2016. A different household showed non-detectable lead levels

  when sampled in September 2016, but spiked to nearly twenty times the 15-ppb

  action level when sampled again in November.

         9.    Although these spikes represent only a very small percentage of the

  samples collected, they are concerning. Spikes this high can pose a hazard to

  children’s health, and could be responsible for worrisome elevations in blood lead

  concentrations.


     3
        See State of Michigan, Taking Action on Flint Water, Residential Sampling,
  http://www.michigan.gov/flintwater/0,6092,7-345-76292_76294_76297---,00.html
  (last visited Dec. 22, 2016) (Exhibits 2 and 3).
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  I declare under penalty of perjury that the foregoing is true and correct.


  ______________________________                              _December 27, 2016__
  Bruce Perrin Lanphear, MD, MPH                                   Date




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                              INDEX OF EXHIBITS

    Exhibit         Description

    1               Christopher J. Brubaker, et al., The Influence of age of lead
                    exposure on adult gray matter volume, NeuroToxicology
                    (2010) (online ed.)

    2               Flint Residential Testing Report Sorted by Address, results
                    collected July 1 through December 12, 2016 (posted December
                    15, 2016), retrieved from www.michigan.gov/flintwater/
                    (excerpts)

    3               Flint Residential Testing Report Sorted by Address, results
                    collected through June 30, 2016 (posted July 11, 2016),
                    retrieved from www.michigan.gov/flintwater/ (excerpts)
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                      EXHIBIT 1
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                     EXHIBIT 2
                               Case 2:16-cv-10277-DML-SDD ECF No. 121-3 filed 12/27/16 PageID.6881                                                                                   Page 18 of
                                              Flint Residential Testing Report - results collected
                                                                                            26 July 1, 2016 through December 15, 2016

                                                    2 Bottle Kit             1 Bottle Kit                           2 Bottle Kit             1 Bottle Kit
                                                                   1 Liter                                                         1 Liter
    Sample         Date     Analysis     250 ml       750 ml     Calculated                 Analysis     250 ml       750 ml     Calculated
   Number      Submitted     (Lead)    Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB)   (Copper)   Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB) Street #   Street Name                    City   Zip Code
   LG59599      7/14/2016     Lead                                                0          Copper                                               0         2915     HILLCREST AVE                 FLINT     48503
   LG74244      9/15/2016     Lead                                                1          Copper                                               0         6514     HILLCREST DR                  FLINT     48506
   LG68010      8/18/2016     Lead                                                0          Copper                                               0         2002     HILLS ST                      FLINT     48503
   LG88671     11/28/2016     Lead           2            2           2                      Copper        110          120         120                     2020     HILLS ST                      FLINT     48532
   LG88672     11/28/2016     Lead           3            2           2                      Copper         60           50          50                     2020     HILLS ST                      FLINT     48532
   LG61942      7/25/2016     Lead                                               595         Copper                                              440        2020     HILLS ST                      FLINT     48506
   LG66301      8/11/2016     Lead                                                1          Copper                                               0         2025     HILLS ST                      FLINT     48507
   LG59565      7/14/2016     Lead                                                0          Copper                                               0         2032     HILLS ST                      FLINT     48504
   LG59624      7/14/2016     Lead                                                0          Copper                                               0         2125     HILLS ST                      FLINT     48504
   LG59632      7/14/2016     Lead                                                0          Copper                                               0         2125     HILLS ST                      FLINT     48503
   LG64582       8/4/2016     Lead                                                0          Copper                                               0         2125     HILLS ST                      FLINT     48504
   LG72140       9/8/2016     Lead                                                0          Copper                                               0         2125     HILLS ST                      FLINT     48507
   LG72145       9/8/2016     Lead                                                0          Copper                                               0         2125     HILLS ST                      FLINT     48507
   LG81087     10/10/2016     Lead                                                0          Copper                                               0         2125     HILLS ST                      FLINT     48504
   LG81089     10/10/2016     Lead                                                0          Copper                                               0         2125     HILLS ST                      FLINT     48502
   LG64581       8/4/2016     Lead                                                5          Copper                                               0         2125     HILLS ST                      FLINT     48506
   LG59627      7/14/2016     Lead                                                6          Copper                                               0         2125     HILLS ST                      FLINT     48503
   LG81088     10/10/2016     Lead                                                6          Copper                                               0         2125     HILLS ST                      FLINT     48503
   LG72143       9/8/2016     Lead                                                41         Copper                                               70        2125     HILLS ST                      FLINT     48504
   LG84544     10/31/2016     Lead           0            0           0                      Copper         60            0           0                     2207     HILLS ST                      FLINT     48507
   LG84516     10/31/2016     Lead                                                0          Copper                                              310        2219     HILLS ST                      FLINT     48506
   LG60679      7/19/2016     Lead                                                5          Copper                                              130        2401     HILLS ST                      FLINT     48506
   LG87433     11/17/2016     Lead                                                7          Copper                                              140        2401     HILLS ST                      FLINT     48507
   LG75312      9/21/2016     Lead                                                16         Copper                                              130        2401     HILLS ST                      FLINT     48504
   LG67873      8/18/2016     Lead                                                22         Copper                                              180        2401     HILLS ST                      FLINT     48505
   LG74865      9/19/2016     Lead                                                0          Copper                                               0         2409     HILLS ST                      FLINT     48506
   LG83023     10/20/2016     Lead                                                0          Copper                                               0         2409     HILLS ST                      FLINT     48505
   LG72820      9/12/2016     Lead                                                0          Copper                                               0         2409     HILLS ST                      FLINT     48506
   LG72823      9/12/2016     Lead                                                0          Copper                                              360        2409     HILLS ST                      FLINT     48502
   LG72829      9/12/2016     Lead                                                0          Copper                                               0         2409     HILLS ST                      FLINT     48504
   LG57969       7/7/2016     Lead                                                2          Copper                                               0         2409     HILLS ST                      FLINT     48502
   LG57992       7/7/2016     Lead                                                18         Copper                                               50        2409     HILLS ST                      FLINT     48506
   LG76331      9/22/2016     Lead                                                0          Copper                                               0         2410     HILLS ST                      FLINT     48503
   LG67883      8/18/2016     Lead                                                69         Copper                                              110        2410     HILLS ST                      FLINT     48503
   LG61490      7/21/2016     Lead                                                0          Copper                                              310        2418     HILLS ST                      FLINT     48504
   LG88736     11/28/2016     Lead           0            0           0                      Copper         90            0           0                     2418     HILLS ST                      FLINT     48503
   LG76086      9/22/2016     Lead                                                3          Copper                                              150        2501     HILLS ST                      FLINT     48506
   LG88150     11/21/2016     Lead                                                3          Copper                                               80        2501     HILLS ST                      FLINT     48503
   LG60683      7/19/2016     Lead                                                12         Copper                                               60        2501     HILLS ST                      FLINT     48503
   LG68447      8/22/2016     Lead                                                14         Copper                                               0         2501     HILLS ST                      FLINT     48504
   LG64580       8/4/2016     Lead                                                0          Copper                                               0         2515     HILLS ST                      FLINT     48505
   LG88145     11/21/2016     Lead                                                0          Copper                                               0         2409     HILLS STREET                  FLINT     48503
   LG64997       8/8/2016     Lead                                                0          Copper                                               0         217      HILLVIEW TER                 FENTON     48505
   LG60203      7/18/2016     Lead                                                6          Copper                                               0         2225     HOFF ST                       FLINT     48505
   LG67938      8/18/2016     Lead                                                0          Copper                                               0         3402     HOGARTH AVE                   FLINT     48507
   LG75396      9/21/2016     Lead                                                0          Copper                                               0         3402     HOGARTH AVE                   FLINT     48506
   LG60602      7/19/2016     Lead                                                9          Copper                                               0         3402     HOGARTH AVE                   FLINT     48504
   LG88148     11/21/2016     Lead                                               295         Copper                                               0         3402     HOGARTH AVE                   FLINT     48507
   LG75400      9/21/2016     Lead                                                0          Copper                                               0         3414     HOGARTH AVE                   FLINT     48507
   LG87421     11/17/2016     Lead                                                0          Copper                                               0         3414     HOGARTH AVE                   FLINT     48507
   LG67884      8/18/2016     Lead                                                1          Copper                                               0         3414     HOGARTH AVE                   FLINT     48502
   LG60606      7/19/2016     Lead                                                2          Copper                                               0         3414     HOGARTH AVE                   FLINT     48502




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                                                                                            26 July 1, 2016 through December 15, 2016

                                                    2 Bottle Kit             1 Bottle Kit                           2 Bottle Kit             1 Bottle Kit
                                                                   1 Liter                                                         1 Liter
    Sample         Date     Analysis     250 ml       750 ml     Calculated                 Analysis     250 ml       750 ml     Calculated
   Number      Submitted     (Lead)    Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB)   (Copper)   Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB) Street #   Street Name                City    Zip Code
   LG66295      8/11/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG66298      8/11/2016     Lead                                                0          Copper                                               90        1002     S SAGINAW ST              FLINT      48529
   LG66299      8/11/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG66304      8/11/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48507
   LG68015      8/18/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48430
   LG68017      8/18/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG68018      8/18/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48504
   LG71359       9/6/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48502
   LG71362       9/6/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48507
   LG71363       9/6/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48506
   LG88131     11/21/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48502
   LG88132     11/21/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48506
   LG88133     11/21/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48506
   LG88135     11/21/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG92060     12/15/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG92061     12/15/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48504
   LG92062     12/15/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48504
   LG92063     12/15/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48506
   LG92064     12/15/2016     Lead                                                0          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG63009      7/28/2016     Lead                                                1          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG66296      8/11/2016     Lead                                                1          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG68016      8/18/2016     Lead                                                1          Copper                                               80        1002     S SAGINAW ST              FLINT      48507
   LG68019      8/18/2016     Lead                                                1          Copper                                               0         1002     S SAGINAW ST              FLINT      48503
   LG88134     11/21/2016     Lead                                                1          Copper                                               0         1002     S SAGINAW ST              FLINT      48507
   LG71361       9/6/2016     Lead                                                3          Copper                                               0         1002     S SAGINAW ST              FLINT   48504-3357
   LG84157     10/27/2016     Lead                                                8          Copper                                               60        1002     S SAGINAW ST              FLINT      48505
   LG63014      7/28/2016     Lead                                                14         Copper                                               80        1002     S SAGINAW ST              FLINT      48504
   LG81770     10/13/2016     Lead                                                44         Copper                                              200        1002     S SAGINAW ST              FLINT      48502
   LG71360       9/6/2016     Lead                                                53         Copper                                              210        1002     S SAGINAW ST              FLINT      48503
   LG78690      9/29/2016     Lead                                                94         Copper                                              180        1002     S SAGINAW ST              FLINT      48507
   LG90790      12/8/2016     Lead                                                1          Copper                                              100        4509     S SAGINAW ST              FLINT      48503
   LG89848      12/5/2016     Lead           0            0           0                      Copper        260          290         280                     3725     S SAGINAW ST SUITE 105    FLINT      48504
   LG68460      8/22/2016     Lead                                                0          Copper                                               0         630      S SAGINAW/ BREAK ROOM     FLINT      48507
   LG68456      8/22/2016     Lead                                                0          Copper                                               0         630      S SAGINAW/ CD SINK        FLINT      48506
   LG57997       7/7/2016     Lead                                                0          Copper                                               0         307      S VERNON AVE              FLINT      48503
   LG81113     10/10/2016     Lead                                                0          Copper                                               0         609      S VERNON AVE              FLINT      48506
   LG91172     12/12/2016     Lead           0            0           0                      Copper         70            0           0                     108      SAGEBRUSH DR              FLINT      48507
   LG85353      11/3/2016     Lead                                                0          Copper                                               0         3205     SAGINAW                   FLINT      48507
   LG85704      11/7/2016     Lead                                                0          Copper                                               0         3805     SAGINAW                   FLINT      48506
   LG86518     11/10/2016     Lead                                                0          Copper                                               0         4041     SAGINAW                   FLINT      48503
   LG83428     10/24/2016     Lead                                                0          Copper                                               0         340      SAGINAW ST                FLINT      48502
   LG83028     10/20/2016     Lead                                                0          Copper                                               0         432      SAGINAW ST                FLINT      48504
   LG84171     10/27/2016     Lead                                                3          Copper                                               0         448      SAGINAW ST                FLINT      48506
   LG83040     10/20/2016     Lead                                                0          Copper                                               0         531      SAGINAW ST                FLINT      48506
   LG83425     10/24/2016     Lead                                                0          Copper                                               80        635      SAGINAW ST                FLINT      48504
   LG83032     10/20/2016     Lead                                                0          Copper                                               0         711      SAGINAW ST                FLINT      48503
   LG90794      12/8/2016     Lead                                                0          Copper                                              100        746      SAGINAW ST                FLINT      48505
   LG90795      12/8/2016     Lead                                                0          Copper                                               60        746      SAGINAW ST                FLINT      48503
   LG90797      12/8/2016     Lead                                                0          Copper                                              100        746      SAGINAW ST                FLINT      48504
   LG90796      12/8/2016     Lead                                                2          Copper                                              100        746      SAGINAW ST                FLINT      48503
   LG90788      12/8/2016     Lead                                                14         Copper                                              170        746      SAGINAW ST                FLINT      48507
   LG90792      12/8/2016     Lead                                                54         Copper                                              240        746      SAGINAW ST                FLINT      48504




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                                                                                            26 July 1, 2016 through December 15, 2016

                                                    2 Bottle Kit             1 Bottle Kit                           2 Bottle Kit             1 Bottle Kit
                                                                   1 Liter                                                         1 Liter
    Sample         Date     Analysis     250 ml       750 ml     Calculated                 Analysis     250 ml       750 ml     Calculated
   Number      Submitted     (Lead)    Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB)   (Copper)   Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB) Street #   Street Name                 City   Zip Code
   LG90793      12/8/2016     Lead                                              2,069        Copper                                              250        746      SAGINAW ST                 FLINT     48502
   LG63008      7/28/2016     Lead                                                0          Copper                                               0         1002     SAGINAW ST                 FLINT     48503
   LG89892      12/5/2016     Lead           4                                               Copper         50                                              1040     SAGINAW ST                 FLINT     48532
   LG89893      12/5/2016     Lead         176                                               Copper         90                                              1040     SAGINAW ST                 FLINT     48507
   LG86698     11/14/2016     Lead                                                0          Copper                                               0         1410     SAGINAW ST                 FLINT     48507
   LG85354      11/3/2016     Lead                                                0          Copper                                               0         1621     SAGINAW ST                 FLINT     48503
   LG87677     11/17/2016     Lead                                                0          Copper                                               0         1714     SAGINAW ST                 FLINT     48507
   LG91157     12/12/2016     Lead                                                0          Copper                                               0         2408     SAGINAW ST                 FLINT     48503
   LG84514     10/31/2016     Lead                                                0          Copper                                              160        2820     SAGINAW ST                 FLINT     48505
   LG92039     12/15/2016     Lead                                                0          Copper                                               0         3010     SAGINAW ST                 FLINT     48503
   LG92046     12/15/2016     Lead                                                2          Copper                                               0         4108     SAGINAW ST                 FLINT     48505
   LG92052     12/15/2016     Lead                                                0          Copper                                               0         4414     SAGINAW ST                 FLINT     48504
   LG92054     12/15/2016     Lead                                                0          Copper                                               0         4601     SAGINAW ST                 FLINT     48503
   LG92049     12/15/2016     Lead                                                0          Copper                                              130        5201     SAGINAW ST                 FLINT     48507
   LG92037     12/15/2016     Lead                                                0          Copper                                              160        7022     SAGINAW ST                 FLINT     48504
   LG74224      9/15/2016     Lead                                                0          Copper                                              220        615      SAINT CLAIR ST             FLINT     48507
   LG89412      12/1/2016     Lead           0            0           0                      Copper        110            0           0                     955      SALISBURY AVE              FLINT     48503
   LG89409      12/1/2016     Lead                                                0          Copper                                               0         975      SALISBURY AVE              FLINT     48505
   LG89863      12/5/2016     Lead           0            0           0                      Copper          0            0           0                     975      SALISBURY AVE              FLINT     48451
   LG87691     11/17/2016     Lead           1            1           1                      Copper         50           60          60                     3201     SALISHAN CIR               FLINT     48503
   LG58013       7/7/2016     Lead                                                4          Copper                                               50        5808     SALLY CT                   FLINT     48503
   LG60613      7/19/2016     Lead                                                0          Copper                                               0         5915     SALLY CT                   FLINT     48503
   LG67830      8/18/2016     Lead                                                0          Copper                                               0         5915     SALLY CT                   FLINT     48507
   LG75394      9/21/2016     Lead                                                0          Copper                                               0         5915     SALLY CT                   FLINT     48507
   LG87333     11/17/2016     Lead                                                0          Copper                                               0         5915     SALLY CT                   FLINT     48503
   LG74217      9/15/2016     Lead                                                0          Copper                                               0         6501     SALLY CT                   FLINT     48505
   LG80749      10/6/2016     Lead                                                0          Copper                                               0         6501     SALLY CT                   FLINT     48506
   LG58053       7/7/2016     Lead                                                0          Copper                                               0         6802     SALLY CT                   FLINT     48504
   LG74223      9/15/2016     Lead                                               591         Copper                                             1,730       6914     SALLY CT                   FLINT     48506
   LG70036      8/29/2016     Lead                                                0          Copper                                               90        1242     SAN JUAN DR                FLINT     48504
   LG57998       7/7/2016     Lead                                                0          Copper                                               0         2002     SANTA BARBARA DR           FLINT     48504
   LG91193     12/12/2016     Lead         110           25          46                      Copper        210            0          50                     2114     SANTA BARBARA DR           FLINT     48505
   LG86703     11/14/2016     Lead           0            0           0                      Copper         60            0           0                     3402     SANTA CLARA CT             FLINT     48507
   LG58047       7/7/2016     Lead                                                1          Copper                                               70        921      SCOTT ST                   FLINT     48502
   LG58048       7/7/2016     Lead                                                32         Copper                                              310        929      SCOTT ST                   FLINT     48507
   LG89419      12/1/2016     Lead           2            2           2                      Copper          0            0           0                     1624     SEMINOLE ST                FLINT     48504
   LG88698     11/28/2016     Lead           4            1           2                      Copper        140          160         150                     1801     SENECA ST                  FLINT     48504
   LG88695     11/28/2016     Lead           7            1           3                      Copper        150          160         160                     1801     SENECA ST                  FLINT     48504
   LG87684     11/17/2016     Lead           7            8           8                      Copper         90            0           0                     2422     SENECA ST                  FLINT     48503
   LG76237      9/22/2016     Lead                                                21         Copper                                               50        2422     SENECA ST                  FLINT     48503
   LG71327       9/6/2016     Lead                                                39         Copper                                               70        2422     SENECA ST                  FLINT     48503
   LG91206     12/12/2016     Lead           0                                               Copper          0                                              2441     SENECA ST                  FLINT     48505
   LG72814      9/12/2016     Lead                                                2          Copper                                              120        3902     SENECA ST                  FLINT     48503
   LG70053      8/29/2016     Lead                                                2          Copper                                               0         1835     SEYMOUR ST                 FLINT     48507
   LG85311      11/3/2016     Lead           0            0           0                      Copper          0            0           0                     5437     SHAMROCK LN                FLINT      ***
   LG72789      9/12/2016     Lead                                                3          Copper                                               70        326      SHEFFIELD AVE              FLINT     48504
   LG84134     10/27/2016     Lead           0            0           0                      Copper          0            0           0                     321      SHEFFIELD AVE APT272 A     FLINT     48505
   LG91189     12/12/2016     Lead           0            0           0                      Copper         80            0           0                     3706     SHERRY DR                  FLINT     48505
   LG92059     12/15/2016     Lead                                                80         Copper                                              160        716      SIMCOE AVE                 FLINT     48504
   LG88660     11/28/2016     Lead                                                0          Copper                                               0         1014     SIMCOE AVE                 FLINT     48502
   LG83087     10/20/2016     Lead           0            0           0                      Copper          0            0           0                     1017     SIMCOE AVE                 FLINT     48507
   LG70999       9/1/2016     Lead                                                0          Copper                                              420        1018     SIMCOE AVE                 FLINT     48503




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                                                                                            26 July 1, 2016 through December 15, 2016

                                                    2 Bottle Kit             1 Bottle Kit                           2 Bottle Kit             1 Bottle Kit
                                                                   1 Liter                                                         1 Liter
    Sample         Date     Analysis     250 ml       750 ml     Calculated                 Analysis     250 ml       750 ml     Calculated
   Number      Submitted     (Lead)    Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB)   (Copper)   Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB) Street #   Street Name                  City    Zip Code
   LG61929      7/25/2016     Lead                                                0          Copper                                               0         1025     STOCKTON ST APT 2           FLINT      48506
   LG76878      9/26/2016     Lead                                                9          Copper                                               0         1413     STONE ST                    FLINT      48506
   LG60208      7/18/2016     Lead                                                4          Copper                                               0         1414     STONE ST                    FLINT      48507
   LG61935      7/25/2016     Lead                                                5          Copper                                               0         1414     STONE ST                    FLINT      48503
   LG63343       8/1/2016     Lead                                                0          Copper                                              120        6488     STONEBROOK LN             FLUSHING     48503
   LG84132     10/27/2016     Lead           0            0           0                      Copper         50            0           0                     2006     STONEY BROOK CT             FLINT      48505
   LG84143     10/27/2016     Lead           5            1           2                      Copper        140            0           0                     2006     STONEY BROOK CT             FLINT      48501
   LG63030      7/28/2016     Lead                                                2          Copper                                              100        2007     STONEY BROOK CT             FLINT      48504
   LG67981      8/18/2016     Lead                                                0          Copper                                               50        5706     SUBURBAN CT                 FLINT      48506
   LG67992      8/18/2016     Lead                                                0          Copper                                               50        5706     SUBURBAN CT                 FLINT      48505
   LG85367      11/3/2016     Lead                                                0          Copper                                               70        5706     SUBURBAN CT                 FLINT      48507
   LG85371      11/3/2016     Lead                                                0          Copper                                               60        5706     SUBURBAN CT                 FLINT      48507
   LG91195     12/12/2016     Lead           0            0           0                      Copper        160           60          80                     5706     SUBURBAN CT                 FLINT      48504
   LG91198     12/12/2016     Lead           0            0           0                      Copper        140            0           0                     5706     SUBURBAN CT                 FLINT      48504
   LG59597      7/14/2016     Lead                                                0          Copper                                              340        4264     SUGAR MAPLE RUN             FLINT      48503
   LG65006       8/8/2016     Lead                                                0          Copper                                              100        4264     SUGAR MAPLE RUN             FLINT      48502
   LG82143     10/17/2016     Lead                                                0          Copper                                               0         4264     SUGAR MAPLE RUN             FLINT      48504
   LG58862      7/12/2016     Lead                                                3          Copper                                               0         1201     SUNCREST DR                 FLINT      48505
   LG58036       7/7/2016     Lead                                                2          Copper                                               0         2206     SUNCREST DR                 FLINT      48505
   LG61522      7/21/2016     Lead                                                0          Copper                                               0         9167     SUNCREST DR                 FLINT      48503
   LG63026      7/28/2016     Lead                                                4          Copper                                               0         9167     SUNCREST DR                 FLINT      48504
   LG59581      7/14/2016     Lead                                                0          Copper                                               0         3759     SUNSET DR                   FLINT      48507
   LG63357       8/1/2016     Lead                                                2          Copper                                               80        5210     SUSAN ST                    FLINT      48503
   LG58046       7/7/2016     Lead                                                0          Copper                                              110        6009     SUSAN ST                    FLINT      48503
   LG62987      7/28/2016     Lead                                                2          Copper                                               0         2718     SWAYZE ST                   FLINT      48504
   LG57967       7/7/2016     Lead                                                3          Copper                                               0         2721     SWAYZE ST                   FLINT      48504
   LG83090     10/20/2016     Lead           0            0           0                      Copper          0            0           0                     2721     SWAYZEST ST                 FLINT      48503
   LG67970      8/18/2016     Lead                                                10         Copper                                               0         1434     TACOMA ST                   FLINT      48506
   LG86706     11/14/2016     Lead           1            0           0                      Copper          0            0           0                     1844     TEBO ST                     FLINT      48505
   LG63018      7/28/2016     Lead                                                0          Copper                                               0         1901     TEBO ST                     FLINT      48504
   LG83084     10/20/2016     Lead           0            0           0                      Copper          0            0           0                     1901     TEBO ST                     FLINT      48503
   LG89854      12/5/2016     Lead         145           16          48                      Copper        790          160         320                     422      TENNYSON AVE                FLINT      48504
   LG70051      8/29/2016     Lead                                                32         Copper                                               60        411      TENTH AVE                   FLINT      48507
   LG63023      7/28/2016     Lead                                                0          Copper                                               0         2715     TERRACE DR                  FLINT      48532
   LG88156     11/21/2016     Lead          10            0           2                      Copper        130            0           0                     1923     THOM ST                     FLINT      48504
   LG57249       7/5/2016     Lead                                                0          Copper                                               0         2922     THOM ST                     FLINT      48503
   LG61931      7/25/2016     Lead                                                0          Copper                                               0         3114     THOM ST                     FLINT      48505
   LG69511      8/25/2016     Lead                                                0          Copper                                               0         2464     THOMAS ST                   FLINT      48503
   LG63348       8/1/2016     Lead                                                0          Copper                                               60        2472     THOMAS ST                   FLINT      48504
   LG61189      7/20/2016     Lead                                                0          Copper                                               0         2513     THOMAS ST                   FLINT      48532
   LG61195      7/20/2016     Lead                                                0          Copper                                               0         2521     THOMAS ST                   FLINT      48507
   LG87788     11/18/2016     Lead                                                0          Copper                                               0         2521     THOMAS ST                   FLINT      48503
   LG67818      8/18/2016     Lead                                                7          Copper                                               0         2521     THOMAS ST                   FLINT      48503
   LG75356      9/21/2016     Lead                                                8          Copper                                               0         2521     THOMAS ST                   FLINT      48506
   LG74855      9/19/2016     Lead                                                2          Copper                                               0         2533     THOMAS ST                   FLINT      48503
   LG58861      7/12/2016     Lead                                                0          Copper                                               0         2560     THOMAS ST                   FLINT      48503
   LG84149     10/27/2016     Lead           1            0           0                      Copper         70            0           0                     2578     THOMAS ST                   FLINT      48506
   LG71337       9/6/2016     Lead                                                0          Copper                                               0         423      THOMSON ST                  FLINT      48506
   LG71343       9/6/2016     Lead                                                2          Copper                                               0         423      THOMSON ST                  FLINT      48504
   LG67859      8/18/2016     Lead                                                0          Copper                                               0         617      THOMSON ST                  FLINT      48504
   LG60772      7/20/2016     Lead                                                3          Copper                                               80        617      THOMSON ST                  FLINT      48503
   LG75382      9/21/2016     Lead                                                68         Copper                                               50        617      THOMSON ST                  FLINT      48504




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                                                                                            26 July 1, 2016 through December 15, 2016

                                                    2 Bottle Kit             1 Bottle Kit                           2 Bottle Kit             1 Bottle Kit
                                                                   1 Liter                                                         1 Liter
    Sample         Date     Analysis     250 ml       750 ml     Calculated                 Analysis     250 ml       750 ml     Calculated
   Number      Submitted     (Lead)    Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB)   (Copper)   Bottle (PPB) Bottle (PPB)   (PPB)    1 Liter (PPB) Street #   Street Name                City    Zip Code
   LG87395     11/17/2016     Lead                                              5,986        Copper                                              780        617      THOMSON ST                FLINT      48502
   LG86534     11/10/2016     Lead           1            0           0                      Copper          0            0           0                     609      THOMSON ST APT 1          FLINT      48505
   LG58011       7/7/2016     Lead                                               107         Copper                                              340        1822     TIMBERLANE DR             FLINT      48505
   LG88675     11/28/2016     Lead           2            0           0                      Copper        180           90         110                     2030     TORRANCE ST               FLINT      48503
   LG79592      10/3/2016     Lead                                                4          Copper                                               0         1835     TOWER ST                  FLINT      48503
   LG59608      7/14/2016     Lead                                                0          Copper                                               0         2608     TROUT DR UNIT #334        FLINT      48504
   LG68000      8/18/2016     Lead                                                0          Copper                                               0         4109     TRUMBALL AVE              FLINT      48503
   LG91173     12/12/2016     Lead           0            0           0                      Copper          0            0           0                     4311     TRUMBULL AVE              FLINT      48430
   LG60205      7/18/2016     Lead                                                1          Copper                                               50        1817     TUSCOLA ST                FLINT      48504
   LG61529      7/21/2016     Lead                                                0          Copper                                               0         4101     TUXEDO AVE                FLINT      48503
   LG59573      7/14/2016     Lead                                                0          Copper                                               0         4122     TUXEDO AVE                FLINT      48503
   LG81096     10/10/2016     Lead                                                0          Copper                                               0         2532     TYRONE ST                 FLINT      48507
   LG61488      7/21/2016     Lead                                                6          Copper                                              140        2568     TYRONE ST                 FLINT      48506
   LG90803      12/8/2016     Lead                                                0          Copper                                              300        1518     UNIVERSITY                FLINT      48503
   LG69537      8/25/2016     Lead                                                0          Copper                                               0         1312     UNIVERSITY AVE            FLINT      48505
   LG62975      7/28/2016     Lead                                                0          Copper                                               0         1602     UNIVERSITY AVE            FLINT      48532
   LG62977      7/28/2016     Lead                                                0          Copper                                               0         1602     UNIVERSITY AVE            FLINT      48503
   LG71348       9/6/2016     Lead                                                0          Copper                                               0         1602     UNIVERSITY AVE            FLINT      48503
   LG71349       9/6/2016     Lead                                                0          Copper                                              120        1602     UNIVERSITY AVE            FLINT      48507
   LG81786     10/13/2016     Lead                                                0          Copper                                               0         1602     UNIVERSITY AVE            FLINT      48503
   LG81775     10/13/2016     Lead                                                0          Copper                                               0         1602     UNIVERSITY AVE            FLINT      48503
   LG81779     10/13/2016     Lead                                                0          Copper                                               0         1602     UNIVERSITY AVE            FLINT      48503
   LG62980      7/28/2016     Lead                                                1          Copper                                               60        1602     UNIVERSITY AVE            FLINT      48507
   LG71350       9/6/2016     Lead                                                3          Copper                                              100        1602     UNIVERSITY AVE            FLINT      48507
   LG87992     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG87993     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48505
   LG87994     11/21/2016     Lead           0                                               Copper        220                                              1518     UNIVERSITY AVENUE         FLINT      48505
   LG87995     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48504
   LG87996     11/21/2016     Lead           0                                               Copper         90                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG87997     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48504
   LG87998     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48507
   LG87999     11/21/2016     Lead           0                                               Copper         70                                              1518     UNIVERSITY AVENUE         FLINT      48502
   LG88000     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88001     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88002     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48506
   LG88003     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88004     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88005     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48458
   LG88006     11/21/2016     Lead           0                                               Copper        100                                              1518     UNIVERSITY AVENUE         FLINT      48504
   LG88007     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48506
   LG88008     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48507
   LG88009     11/21/2016     Lead           0                                               Copper         60                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88010     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48505
   LG88011     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88012     11/21/2016     Lead           0                                               Copper         60                                              1518     UNIVERSITY AVENUE         FLINT      48506
   LG88013     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88014     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88015     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48507
   LG88016     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT   48503-3845
   LG88017     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503
   LG88018     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48504
   LG88019     11/21/2016     Lead           0                                               Copper          0                                              1518     UNIVERSITY AVENUE         FLINT      48503




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                     EXHIBIT 3
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                                                          26 collected through June 30, 2016

 Sample Number Date Submitted Analysis (Lead) Lead (ppb) Analysis (Copper) Copper (ppb) Street #                   Street Name    City   Zip Code
    LG31292       4/4/2016         Lead           0           Copper            0        2409      HILLS ST                      FLINT    48503
    LG35057      4/13/2016         Lead           2           Copper            0        2409      HILLS ST                      FLINT    48503
    LG42885       5/5/2016         Lead           5           Copper            0        2409      HILLS ST                      FLINT    48503
    LG14669      2/17/2016         Lead           9           Copper           70        2410      HILLS ST                      FLINT    48503
    LG17549      2/24/2016         Lead           16          Copper           100       2410      HILLS ST                      FLINT    48503
    LG19399       3/2/2016         Lead           29          Copper           100       2410      HILLS ST                      FLINT    48503
    LG23804      3/16/2016         Lead           18          Copper            0        2410      HILLS ST                      FLINT    48503
    LG25269      3/18/2016         Lead           0           Copper            0        2410      HILLS ST                      FLINT    48503
    LG29681      3/30/2016         Lead          116          Copper           60        2410      HILLS ST                      FLINT    48503
    LG32969       4/7/2016         Lead           9           Copper            0        2410      HILLS ST                      FLINT    48503
    LG35045      4/13/2016         Lead           22          Copper           80        2410      HILLS ST                      FLINT    48503
    LG38227      4/22/2016         Lead           8           Copper           50        2410      HILLS ST                      FLINT    48503
    LG47398      5/25/2016         Lead           9           Copper            0        2410      HILLS ST                      FLINT    48503
    LG10763       2/8/2016         Lead           0           Copper           140       2418      HILLS ST                      FLINT    48503
    LG22471      3/11/2016         Lead           0           Copper           120       2418      HILLS ST                      FLINT    48503
    LG42870       5/5/2016         Lead           0           Copper           100       2418      HILLS ST                      FLINT    48503
    LG13718      2/16/2016         Lead           96          Copper           370       2501      HILLS ST                      FLINT    48503
    LG23807      3/16/2016         Lead           5           Copper           240       2501      HILLS ST                      FLINT    48503
    LG29648      3/30/2016         Lead           4           Copper           230       2501      HILLS ST                      FLINT    48503
    LG35081      4/13/2016         Lead           2           Copper           220       2501      HILLS ST                      FLINT    48503
    LG47724      5/26/2016         Lead           4           Copper           130       2501      HILLS ST                      FLINT    48503
    LG54478      6/22/2016         Lead           15          Copper           80        2501      HILLS ST                      FLINT    48503
    LG02353      1/22/2016         Lead           0           Copper            0        2502      HILLS ST                      FLINT    48503
    LG17548      2/24/2016         Lead           12          Copper           70        2502      HILLS ST                      FLINT    48503
    LG19397       3/2/2016         Lead           0           Copper           110       2502      HILLS ST                      FLINT    48503
    LG23878      3/16/2016         Lead           19          Copper           100       2502      HILLS ST                      FLINT    48503
    LG29654      3/30/2016         Lead           8           Copper           70        2502      HILLS ST                      FLINT    48503
    LG35086      4/13/2016         Lead           4           Copper           140       2502      HILLS ST                      FLINT    48503
    LG06496      1/31/2016         Lead           0           Copper            0        2507      HILLS ST                      FLINT    48503
    LG04803      1/27/2016         Lead           3           Copper            0        2511      HILLS ST                      FLINT    48503
    LG08716       2/3/2016         Lead           4           Copper            0        2515      HILLS ST                      FLINT    48503
    LG35461      4/13/2016         Lead           1           Copper           120       2137      HILLS ST UPPER                FLINT    48503
    LG20407       3/4/2016         Lead           8           Copper           330       2137      HILLS ST UPPER #2             FLINT    48503
    LG20642       3/5/2016         Lead           0           Copper            0        3290      HILLVIEW AVE                  FLINT    48504
    LG47367      5/25/2016         Lead           3           Copper           70         258      HOBSON AVE                    FLINT    48505
    LG13964      2/16/2016         Lead           3           Copper            0        2212      HOFF ST                       FLINT    48506
    LG04155      1/26/2016         Lead           0           Copper           140       2217      HOFF ST                       FLINT    48506
    LG09709       2/5/2016         Lead           3           Copper           60        2310      HOFF ST                       FLINT    48506
    LG03653      1/25/2016         Lead           2           Copper            0        2414      HOFF ST                       FLINT
    LG18604      2/27/2016         Lead           1           Copper            0        2521      HOFF ST                       FLINT    48506
    LG09787       2/5/2016         Lead           75          Copper           70        2610      HOFF ST                       FLINT    48506
    LG42844       5/5/2016         Lead           0           Copper            0        3367      HOGARTH AVE                   FLINT    48532
    LG06975       2/1/2016         Lead           0           Copper            0        3402      HOGARTH AVE                   FLINT
    LG18550      2/26/2016         Lead          186          Copper           90        3402      HOGARTH AVE                   FLINT    48503
    LG20804       3/6/2016         Lead           0           Copper            0        3402      HOGARTH AVE                   FLINT    48503
    LG24302      3/16/2016         Lead           2           Copper            0        3402      HOGARTH AVE                   FLINT    48503
    LG29829      3/30/2016         Lead           43          Copper            0        3402      HOGARTH AVE                   FLINT    48503
    LG35031      4/13/2016         Lead           35          Copper            0        3402      HOGARTH AVE                   FLINT    48503
    LG47439      5/25/2016         Lead           62          Copper            0        3402      HOGARTH AVE                   FLINT    48503
    LG54488      6/22/2016         Lead           1           Copper            0        3402      HOGARTH AVE                   FLINT    48503
    LG05545      1/28/2016         Lead          254          Copper          2,390      3410      HOGARTH AVE                   FLINT    48503
    LG17682      2/24/2016         Lead           3           Copper           380       3410      HOGARTH AVE                   FLINT    48503
    LG19714       3/2/2016         Lead           14          Copper           410       3410      HOGARTH AVE                   FLINT    48503
    LG23953      3/16/2016         Lead           3           Copper           280       3410      HOGARTH AVE                   FLINT    48503
    LG29797      3/30/2016         Lead          421          Copper          4,970      3410      HOGARTH AVE                   FLINT    48503
    LG35023      4/13/2016         Lead           2           Copper           210       3410      HOGARTH AVE                   FLINT    48503
    LG17678      2/24/2016         Lead           4           Copper            0        3414      HOGARTH AVE                   FLINT    48503
    LG19569       3/2/2016         Lead           0           Copper            0        3414      HOGARTH AVE                   FLINT    48503
    LG24305      3/16/2016         Lead           1           Copper            0        3414      HOGARTH AVE                   FLINT    48503
    LG30662      3/31/2016         Lead           1           Copper            0        3414      HOGARTH AVE                   FLINT    48503
    LG36155      4/15/2016         Lead           1           Copper            0        3414      HOGARTH AVE                   FLINT    48503
    LG47369      5/25/2016         Lead           1           Copper            0        3414      HOGARTH AVE                   FLINT    48503
    LG54491      6/22/2016         Lead           2           Copper            0        3414      HOGARTH AVE                   FLINT    48503
    LG05585      1/28/2016         Lead           2           Copper            0        3418      HOGARTH AVE                   FLINT    48503
    LG05637      1/28/2016         Lead           36          Copper           190       3513      HOGARTH AVE                   FLINT    48503
    LG19698       3/2/2016         Lead           43          Copper           220       3513      HOGARTH AVE                   FLINT    48503
    LG24300      3/16/2016         Lead           28          Copper           180       3513      HOGARTH AVE                   FLINT    48503
    LG29802      3/30/2016         Lead           19          Copper           150       3513      HOGARTH AVE                   FLINT    48503
    LG35101      4/13/2016         Lead           31          Copper           180       3513      HOGARTH AVE                   FLINT    48503
    LG47445      5/25/2016         Lead           3           Copper           100       3513      HOGARTH AVE                   FLINT    48503
    LG54487      6/22/2016         Lead           6           Copper           90        3513      HOGARTH AVE                   FLINT    48503
    LG05722      1/28/2016         Lead           4           Copper           50        3618      HOGARTH AVE                   FLINT    48532
    LG42850       5/5/2016         Lead          135          Copper           340       3622      HOGARTH AVE                   FLINT    48532
    LG07931       2/2/2016         Lead           0           Copper           50        3625      HOGARTH AVE                   FLINT    48532
    LG15630      2/18/2016         Lead           0           Copper           60        3625      HOGARTH AVE                   FLINT    48532
    LG42793       5/5/2016         Lead           0           Copper            0        3705      HOGARTH AVE                   FLINT    48532
    LG00830      1/20/2016         Lead           0           Copper            0        3714      HOGARTH AVE                   FLINT
    LG01307      1/21/2016         Lead           1           Copper            0        3722      HOGARTH AVE                   FLINT    48532
    LG16876      2/23/2016         Lead           0           Copper           60        3806      HOGARTH AVE                   FLINT    48532




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 Sample Number Date Submitted Analysis (Lead) Lead (ppb) Analysis (Copper) Copper (ppb) Street #                  Street Name     City    Zip Code
    LG05198      1/27/2016         Lead           8           Copper           430        614      S LYNCH ST                    FLINT     48503
    LG17913      2/24/2016         Lead           7           Copper           360        614      S LYNCH ST                    FLINT     48503
    LG27425      3/23/2016         Lead           7           Copper           340        614      S LYNCH ST                    FLINT     48503
    LG38226      4/22/2016         Lead           52          Copper           320        614      S LYNCH ST                    FLINT     48503
    LG49286       6/2/2016         Lead           3           Copper           120        614      S LYNCH ST                    FLINT     48503
    LG56030      6/28/2016         Lead           2           Copper           100        614      S LYNCH ST                    FLINT     48503
    LG00571      1/19/2016         Lead           0           Copper            0         617      S LYNCH ST                    FLINT     48503
    LG00596      1/19/2016         Lead           0           Copper            0         420      S MEADE ST                    FLINT     48503
    LG29443      3/29/2016         Lead           67          Copper           510        420      S MEADE ST                    FLINT     48503
    LG16223      2/20/2016         Lead           3           Copper           60         425      S MEADE ST                    FLINT     48503
    LG08432       2/3/2016         Lead           0           Copper            0         441      S MEADE ST                    FLINT     48503
    LG42014       5/3/2016         Lead           2           Copper            0         441      S MEADE ST                    FLINT     48503
    LG34318      4/11/2016         Lead           0           Copper           60         501      S MEADE ST                    FLINT     48503
    LG42837       5/5/2016         Lead          355          Copper          6,780       518      S MEADE ST                    FLINT     48503
    LG01477      1/21/2016         Lead           0           Copper            0         601      S MEADE ST                    FLINT
    LG03587      1/25/2016         Lead           0           Copper            0         618      S MEADE ST                    FLINT     48503
    LG08702       2/3/2016         Lead           2           Copper            0         618      S MEADE ST                    FLINT     48503
    LG04799      1/27/2016         Lead           0           Copper            0         721      S MEADE ST                    FLINT     48503
    LG15530      2/18/2016         Lead           0           Copper            0         621      S MEADE ST #5                 FLINT     48503
    LG16183      2/20/2016         Lead           8           Copper            0         501      S MEADE ST APT 12             FLINT     48503
    LG22740      3/12/2016         Lead           0           Copper           130        601      S MEADE ST APT 4              FLINT     48503
    LG17024      2/23/2016         Lead           2           Copper            0         501      S MEADE ST APT 5              FLINT     48503
    LG35424      4/13/2016         Lead           9           Copper           50         501      S MEADE ST APT 5              FLINT     48503
    LG38292      4/22/2016         Lead           0           Copper           60         601      S MEADE ST APT 5              FLINT     48503
    LG05231      1/27/2016         Lead           1           Copper           100        601      S MEADE ST APT 6              FLINT     48503
    LG56041      6/28/2016         Lead           1           Copper            0         601      S MEADE ST APT 6              FLINT     48503
    LG01237      1/21/2016         Lead           5           Copper            0         501      S MEADE ST APT 8              FLINT     48503
    LG09839       2/5/2016         Lead           0           Copper            0         521      S MEADE ST APT 8              FLINT     48503
    LG16959      2/23/2016         Lead           31          Copper           160        601      S MEADE ST APT E              FLINT     48503
    LG07045       2/1/2016         Lead           0           Copper            0        3104      S PARKWAY                     FLINT     48504
    LG25260      3/18/2016         Lead           6           Copper           160       9648      S PATTER                     DAVISON    48423
    LG20480       3/4/2016         Lead           0           Copper           60         408      S SAGINAW ST                  FLINT     48502
    LG04751      1/27/2016         Lead           0           Copper           290        452      S SAGINAW ST                  FLINT     48502
    LG42084       5/3/2016         Lead           0           Copper           50         460      S SAGINAW ST                  FLINT     48502
    LF85958      10/2/2015         Lead           2           Copper           920        540      S SAGINAW ST                  FLINT     48502
    LF88280      10/20/2015        Lead           0           Copper           190        555      S SAGINAW ST                  FLINT     48502
    LG13605      2/16/2016         Lead           0           Copper           650        601      S SAGINAW ST                  FLINT     48502
    LG24371      3/16/2016         Lead           0           Copper           130        601      S SAGINAW ST                  FLINT     48503
    LG29608      3/30/2016         Lead           0           Copper           80         601      S SAGINAW ST                  FLINT     48502
    LG35770      4/14/2016         Lead           0           Copper           50         601      S SAGINAW ST                  FLINT     48502
    LG13992      2/16/2016         Lead           0           Copper            0         625      S SAGINAW ST                  FLINT     48502
    LF91276      11/9/2015         Lead           5           Copper           120        746      S SAGINAW ST                  FLINT     48502
    LF99994      1/15/2016         Lead           1           Copper           120        800      S SAGINAW ST                  FLINT     48502
    LG05715      1/28/2016         Lead           0           Copper           440        816      S SAGINAW ST                  FLINT     48502
    LG30968       4/1/2016         Lead           0           Copper           400        900      S SAGINAW ST                  FLINT     48502
    LG42136       5/3/2016         Lead           33          Copper           190       1002      S SAGINAW ST                  FLINT     48502
    LG42141       5/3/2016         Lead           51          Copper           240       1002      S SAGINAW ST                  FLINT     48502
    LG42143       5/3/2016         Lead           0           Copper           310       1002      S SAGINAW ST                  FLINT     48502
    LG42144       5/3/2016         Lead           92          Copper           180       1002      S SAGINAW ST                  FLINT     48502
    LG42149       5/3/2016         Lead           8           Copper           120       1002      S SAGINAW ST                  FLINT     48502
    LG04242      1/26/2016         Lead           0           Copper            0        1520      S SAGINAW ST
    LG53241      6/16/2016         Lead           0           Copper            0        1520      S SAGINAW ST                  FLINT     48503
    LG22433      3/11/2016         Lead          258          Copper            0        1613      S SAGINAW ST                  FLINT     48503
    LG15464      2/18/2016         Lead           0           Copper            0        1621      S SAGINAW ST                  FLINT     48503
    LG05015      1/27/2016         Lead           2           Copper           100       2201      S SAGINAW ST                  FLINT     48503
    LG13398      2/15/2016         Lead           0           Copper            0        2310      S SAGINAW ST                  FLINT     48503
    LG32220       4/6/2016         Lead           0           Copper            0        2408      S SAGINAW ST                  FLINT     48503
    LF88278      10/20/2015        Lead           1           Copper           630       2820      S SAGINAW ST                  FLINT     48503
    LF88283      10/20/2015        Lead           0           Copper           520       2820      S SAGINAW ST                  FLINT     48503
    LF88288      10/20/2015        Lead           2           Copper           620       2820      S SAGINAW ST                  FLINT     48503
    LF88291      10/20/2015        Lead           1           Copper           330       2820      S SAGINAW ST                  FLINT     48503
    LF88293      10/20/2015        Lead           0           Copper           610       2820      S SAGINAW ST                  FLINT     48503
    LF88297      10/20/2015        Lead           1           Copper           460       2820      S SAGINAW ST                  FLINT     48503
    LF88302      10/20/2015        Lead           0           Copper           560       2820      S SAGINAW ST                  FLINT     48503
    LF88303      10/20/2015        Lead           2           Copper           180       2820      S SAGINAW ST                  FLINT     48503
    LF88308      10/20/2015        Lead           0           Copper           590       2820      S SAGINAW ST                  FLINT     48503
    LF88309      10/20/2015        Lead           0           Copper           530       2820      S SAGINAW ST                  FLINT     48503
    LF88310      10/20/2015        Lead           0           Copper           610       2820      S SAGINAW ST                  FLINT     48503
    LF88312      10/20/2015        Lead           1           Copper           220       2820      S SAGINAW ST                  FLINT     48503
    LF88313      10/20/2015        Lead           0           Copper           630       2820      S SAGINAW ST                  FLINT     48503
    LF88315      10/20/2015        Lead           1           Copper           190       2820      S SAGINAW ST                  FLINT     48503
    LF88316      10/20/2015        Lead           0           Copper           710       2820      S SAGINAW ST                  FLINT     48503
    LF88317      10/20/2015        Lead           0           Copper           670       2820      S SAGINAW ST                  FLINT     48503
    LF88318      10/20/2015        Lead           0           Copper           450       2820      S SAGINAW ST                  FLINT     48503
    LF88319      10/20/2015        Lead           0           Copper           910       2820      S SAGINAW ST                  FLINT     48503
    LF88321      10/20/2015        Lead           2           Copper           180       2820      S SAGINAW ST                  FLINT     48503
    LF88323      10/20/2015        Lead           0           Copper           800       2820      S SAGINAW ST                  FLINT     48503
    LF88325      10/20/2015        Lead           0           Copper           800       2820      S SAGINAW ST                  FLINT     48503
    LG03143      1/24/2016         Lead           0           Copper           210       2820      S SAGINAW ST                  FLINT     48503




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 Sample Number Date Submitted Analysis (Lead) Lead (ppb) Analysis (Copper) Copper (ppb) Street #                 Street Name    City   Zip Code
    LG17492      2/24/2016         Lead           30          Copper           60        2521      THOMAS ST                   FLINT    48504
    LG19554       3/2/2016         Lead          110          Copper           130       2521      THOMAS ST                   FLINT    48504
    LG24313      3/16/2016         Lead           0           Copper            0        2521      THOMAS ST                   FLINT    48503
    LG29857      3/30/2016         Lead           34          Copper           50        2521      THOMAS ST                   FLINT    48504
    LG34950      4/13/2016         Lead           21          Copper           50        2521      THOMAS ST                   FLINT    48504
    LG47441      5/25/2016         Lead           0           Copper            0        2521      THOMAS ST                   FLINT    48504
    LG54861      6/22/2016         Lead           8           Copper            0        2521      THOMAS ST                   FLINT    48504
    LG18024      2/24/2016         Lead           47          Copper           110       2525      THOMAS ST                   FLINT    48504
    LG18004      2/24/2016         Lead           95          Copper           490       2529      THOMAS ST                   FLINT    48504
    LG23062      3/13/2016         Lead           2           Copper            0        2529      THOMAS ST                   FLINT    48504
    LG11249       2/9/2016         Lead           4           Copper            0        2533      THOMAS ST                   FLINT    48504
    LG06570      1/31/2016         Lead           6           Copper           250       2548      THOMAS ST                   FLINT    48504
    LG08327       2/3/2016         Lead           6           Copper            0        2560      THOMAS ST                   FLINT    48504
    LG16980      2/23/2016         Lead           2           Copper            0        2560      THOMAS ST                   FLINT    48504
    LG20169       3/3/2016         Lead           5           Copper           70        2560      THOMAS ST                   FLINT    48504
    LG49199       6/2/2016         Lead           3           Copper           60        2560      THOMAS ST                   FLINT    48504
    LG54315      6/21/2016         Lead           0           Copper            0        2560      THOMAS ST                   FLINT    48504
    LG20013       3/3/2016         Lead           2           Copper           120       2565      THOMAS ST                   FLINT    48504
    LG26320      3/20/2016         Lead          137          Copper          1,340      2565      THOMAS ST                   FLINT    48504
    LG07898       2/2/2016         Lead           3           Copper           210       2569      THOMAS ST                   FLINT    48504
    LG04607      1/26/2016         Lead           1           Copper           90        2573      THOMAS ST                   FLINT    48504
    LG38263      4/22/2016         Lead           1           Copper           90        2573      THOMAS ST                   FLINT    48504
    LG02082      1/21/2016         Lead           0           Copper           70        2578      THOMAS ST                   FLINT    48504
    LG06763       2/1/2016         Lead           1           Copper           130       2578      THOMAS ST                   FLINT    48504
    LG41970       5/3/2016         Lead           0           Copper           80        2578      THOMAS ST                   FLINT    48504
    LG18486      2/26/2016         Lead           7           Copper           160       2581      THOMAS ST                   FLINT    48504
    LG18459      2/26/2016         Lead           0           Copper           350       2607      THOMAS ST                   FLINT    48504
    LG04248      1/26/2016         Lead           3           Copper           390       2613      THOMAS ST                   FLINT    48504
    LG09203       2/4/2016         Lead           10          Copper           130       2625      THOMAS ST                   FLINT    48504
    LG31029       4/1/2016         Lead           3           Copper           60        2709      THOMAS ST                   FLINT    48504
    LG09429       2/4/2016         Lead           3           Copper            0        2710      THOMAS ST                   FLINT    48504
    LG06952       2/1/2016         Lead           2           Copper            0        2718      THOMAS ST                   FLINT
    LG53208      6/16/2016         Lead           0           Copper            0        2726      THOMAS ST                   FLINT    48504
    LG13709      2/16/2016         Lead           7           Copper            0        2729      THOMAS ST                   FLINT    48504
    LG19438       3/2/2016         Lead           0           Copper            0        2729      THOMAS ST                   FLINT    48504
    LG23813      3/16/2016         Lead           2           Copper            0        2729      THOMAS ST                   FLINT    48504
    LG30678      3/31/2016         Lead           2           Copper            0        2729      THOMAS ST                   FLINT    48504
    LG35754      4/14/2016         Lead           0           Copper            0        2729      THOMAS ST                   FLINT    48504
    LG04311      1/26/2016         Lead           2           Copper            0        2733      THOMAS ST                   FLINT    48054
    LG02492      1/22/2016         Lead           3           Copper           130       2737      THOMAS ST                   FLINT    48504
    LG11309       2/9/2016         Lead           0           Copper           60        2741      THOMAS ST                   FLINT    48504
    LG30675      3/31/2016         Lead           0           Copper           50        2741      THOMAS ST                   FLINT    48504
    LG30684      3/31/2016         Lead           0           Copper            0        2741      THOMAS ST                   FLINT    48504
    LG09737       2/5/2016         Lead           0           Copper            0        2742      THOMAS ST                   FLINT    48504
    LG09995       2/5/2016         Lead           0           Copper            0        2742      THOMAS ST                   FLINT    48504
    LG24920      3/17/2016         Lead           0           Copper            0        2746      THOMAS ST                   FLINT    48504
    LG01283      1/21/2016         Lead           0           Copper            0        2754      THOMAS ST                   FLINT    48504
    LG26871      3/22/2016         Lead           0           Copper            0        2762      THOMAS ST                   FLINT    48504
    LG31013       4/1/2016         Lead           0           Copper            0        2762      THOMAS ST                   FLINT    48504
    LG06930       2/1/2016         Lead           0           Copper           60        2801      THOMAS ST                   FLINT    48504
    LF94275      12/2/2015         Lead           1           Copper           100       2806      THOMAS ST                   FLINT    48504
    LG17686      2/24/2016         Lead           2           Copper            0        2807      THOMAS ST                   FLINT    48504
    LG19424       3/2/2016         Lead           0           Copper            0        2807      THOMAS ST                   FLINT    48504
    LG03617      1/25/2016         Lead           0           Copper            0         423      THOMSON ST                  FLINT    48503
    LG16322      2/21/2016         Lead           4           Copper           100        504      THOMSON ST                  FLINT    48503
    LG43215       5/9/2016         Lead           3           Copper           90         617      THOMSON ST                  FLINT    48503
    LG47403      5/25/2016         Lead           2           Copper           90         617      THOMSON ST                  FLINT    48503
    LG54840      6/22/2016         Lead           24          Copper           140        617      THOMSON ST                  FLINT    48503
    LG25258      3/18/2016         Lead           1           Copper            0         624      THOMSON ST                  FLINT    48503
    LG08471       2/3/2016         Lead           1           Copper           50         713      THOMSON ST                  FLINT    48503
    LG06299      1/30/2016         Lead           25          Copper           90         714      THOMSON ST                  FLINT    48503
    LG03759      1/25/2016         Lead           1           Copper            0         725      THOMSON ST                  FLINT    48503
    LG08635       2/3/2016         Lead           0           Copper            0         725      THOMSON ST                  FLINT    48503
    LG02054      1/21/2016         Lead           1           Copper            0         729      THOMSON ST                  FLINT    48503
    LG03819      1/25/2016         Lead           2           Copper            0         729      THOMSON ST                  FLINT    48503
    LG03018      1/24/2016         Lead           0           Copper            0         735      THOMSON ST                  FLINT    48503
    LG03757      1/25/2016         Lead         1,490         Copper           60         735      THOMSON ST                  FLINT    48503
    LG18456      2/26/2016         Lead           1           Copper           190        801      THOMSON ST                  FLINT    48503
    LG10657       2/8/2016         Lead           1           Copper            0         806      THOMSON ST                  FLINT    48503
    LG08406       2/3/2016         Lead           0           Copper            0         702      THOMSON ST #1               FLINT    48503
    LG07877       2/2/2016         Lead           0           Copper            0         510      THOMSON ST #1-C             FLINT    48503
    LG08803       2/3/2016         Lead           0           Copper            0         707      THOMSON ST #5               FLINT
    LF89521      10/30/2015        Lead           1           Copper            0         609      THOMSON ST APT #1           FLINT    48503
    LG08537       2/3/2016         Lead           0           Copper            0         614      THOMSON ST APT 1            FLINT    48503
    LG42808       5/5/2016         Lead           0           Copper            0        3121      THORNTON AVE APT A          FLINT    48504
    LG28226      3/25/2016         Lead           0           Copper            0        2513      TIFFIN ST                   FLINT    48504
    LG09855       2/5/2016         Lead           10          Copper           100       2522      TIFFIN ST                   FLINT    48504
    LG27882      3/24/2016         Lead           0           Copper            0        2530      TIFFIN ST                   FLINT    48504
    LG09472       2/4/2016         Lead           6           Copper            0        2533      TIFFIN ST                   FLINT    48504




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